Case 23-11011-amc          Doc 78
                                Filed 09/13/24 Entered 09/13/24 12:28:36                           Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   Karon A Simmons                                                             CHAPTER 13
                                      Debtor(s)

   PNC BANK, NATIONAL ASSOCIATION
                         Moving Party
              vs.                                                            NO. 23-11011 AMC

   Karon A Simmons
                                      Debtor(s)

   Kenneth E. West                                                       11 U.S.C. Section 362
                                      Trustee

                                             STIPULATION

           AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

           1.       As of August 10, 2024, the post-petition arrearage on the mortgage held by Movant

   on Debtor’s residence is $1,606.90. Post-petition funds received after August 10, 2024, will be

   applied per the terms of this Stipulation as outlined herein. The arrearage is itemized as follows:

     Post-Petition Payments:              July 2024 through August 2024 at $850.95 each
     Suspense Balance:                    ($95.00)
     Total Post-Petition Arrears:         $1,606.90

           2.       The Debtor shall cure said arrearages in the following manner:

                    a). Within seven (7) days of the filing of this Stipulation, Debtor shall file an

   Amended Chapter 13 Plan to include the post-petition arrears of $1,606.90.

                    b). Movant shall file an Amended or Supplemental Proof of Claim to include the

   post-petition arrears of $1,606.90 along with the pre-petition arrears.

                    c). The new 410A form for a Proof of Claim shall not be required for this Amended

   or Supplemental Proof of Claim.

           3.       Beginning with the payment due September 2024 and continuing thereafter, Debtor

   shall pay to Movant the present regular monthly mortgage payment of $850.95 (or as adjusted

   pursuant to the terms of the mortgage) on or before the first (1st) day of each month (with late charges

   being assessed after the 15th of the month).

           4.       Should Debtor provide sufficient proof of payments made, but not credited (front &

   back copies of cancelled checks and/or money orders), Movant shall adjust the account accordingly.
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           5.       In the event the payments under Section 3 above are not tendered pursuant to the

   terms of this Stipulation, Movant shall notify Debtor and Debtor’s attorney of the default in writing

   and the Debtor may cure said default within FIFTEEN (15) days of the date of said notice. If Debtor

   should fail to cure the default within fifteen (15) days, Movant may file a Certification of Default

   with the Court and the Court shall enter an Order granting Movant relief from the automatic stay and

   waiving the stay provided by Bankruptcy Rule 4001(a)(3).

           6.       If the case is converted to Chapter 7, Movant shall file a Certification of Default

   with the Court and the Court shall enter an order granting Movant relief from the automatic stay.

           7.       If the instant bankruptcy is terminated by either dismissal or discharge, this

   agreement shall be null and void, and is not binding upon the parties.

           8.       The provisions of this Stipulation do not constitute a waiver by Movant of its right

   to seek reimbursement of any amounts not included in this Stipulation, including fees and costs, due

   under the terms of the mortgage and applicable law.

           9.       The parties agree that a facsimile signature shall be considered an original signature.


   Date:   August 20, 2024                             /s/ Denise Carlon
                                                       Denise Carlon, Esquire
                                                       Attorney for Movant


   Date:                                               /s/ Edward J. Gruber
                                                       Edward J. Gruber, Esq.
                                                       Attorney for Debtor
                                                        No Objection - Without Prejudice to Any
                                                        Trustee Rights or Remedies
   Date: September 12, 2024                             /s/ LeeAne O. Huggins
                                                       Kenneth E. West
                                                       Chapter 13 Trustee



   Approved by the Court this          day of                           , 2024. However, the Court
   retains discretion regarding entry of any further order.



                                                       Bankruptcy Judge
                                                       Ashely M. Chan
